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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 IN RE:                                        Judge Jorge Alonso
                                               Case No. 16 cv 07218
 Carl Manzo,                                   Appeal from U.S. Bankruptcy
                                               Court
 Appellant/Debtor.
                                               Bankruptcy Court Case No. 15
                                               B 21192
                                               Bankruptcy Judge: Hon.
                                               Pamela Hollis




                             APPELLANT’S BRIEF




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                        STATEMENT OF JURISDICTION
      Debtor-Appellant, Carl Manzo, brings this appeal pursuant to Fed. R. Bankr.

P. 8001 and 8004 and 28 U.S.C. § 158(a)(3). Mr. Manzo appeals the bankruptcy

court’s June 29, 2016, order denying confirmation of Debtor’s Chapter 13 Plan. The

order is a final judgment. The notice of appeal and motion for leave to appeal was

filed on July 13, 2016, within 14 days after denial of confirmation. Leave to appeal

was granted by this court on November 15, 2016.


                             STATEMENT OF ISSUES
      Whether a bankruptcy court can consider exempt assets that are not

part of the bankruptcy estate in determining whether a Chapter 13 plan was filed

in good faith.

                             STANDARD OF REVIEW
      The standard of review for all the issues in this case is de novo, because they

present only questions of statutory interpretation—the relevant facts were not in

dispute. A bankruptcy court’s conclusions of law are reviewed de novo. In re Midway

Airlines, Inc., 383 F.3d 663, 668 (7th Cir. 2004). A district court reviewing an issue

de novo must make an independent judgment of the issues without giving any

deference to the bankruptcy court’s findings. Orius Corp. v. Quest Corp., 373 B.R.

555, 567 (N.D. Ill. 2007); Halas v. Platek, 239 B.R. 784, 787 (N.D. Ill. 1999). Because

the bankruptcy court improperly considered Mr. Manzo’s exempt assets when

determining whether his Ch. 13 plan was filed in good faith, its order must be

reversed.



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                              STATEMENT OF THE CASE
       Mr. Manzo filed his chapter 13 bankruptcy case on June 18, 2015. (R. 2).

       Mr. Manzo filed Schedule C, in which he claimed an exemption of $7,642.94

for Social Security funds in a First Financial Federal Credit Union account and a

Chase Bank account based on 735 ILCS 5/12-1001(g)(1). (R. 22).

       The source of these funds was a lump sum payment of social security

disability benefits awarded to Mr. Manzo after his claim for disability benefits was

retroactively approved. (R. 115). Mr. Manzo received the retroactive benefits on

March 1, 2013. (R. 115).

       On August 14, 2015, the Chapter 13 trustee (the “Trustee”) filed a motion

objecting to the exemption of the $7,642.94. (R. 71).

       On August 18, 2015, Mr. Manzo filed an amended Schedule C, adding an

exemption for his Social Security funds under federal statute 42 U.S.C. § 407(a). (R.

76).

       On October 7, 2015, creditor Seaway Bank and Trust Company (“Seaway”)

joined the Trustee’s objection. (R. 78).

       On April 13, 2016, the court denied the Trustee’s motion objecting to the

exemption of the $7,642.94, finding that the entire amount was exempt. (R. 139).

       On April 29, 2016, Mr. Manzo filed a modified Chapter 13 Plan (the “Plan”).

(R. 145).

       Mr. Manzo owns a home, in which he currently resides, at 842 West Ainslie

Street, Unit G3, Chicago, IL 60640 (the “Property”). (R. 10,17). The Property is

valued at $42,000. (R. 17).

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      U.S. Bank, National Association (“U.S. Bank”) filed a claim against the

Property for $51,335.03, of which $42,000 is secured (“U.S. Bank’s Claim”). (R. 90,

99). Seaway has a second lien on the Property in the amount of $9,365.61

(“Seaway’s Claim”). (R. 23, 90).

      Mr. Manzo’s Plan classified Seaway’s Claim as unsecured due to the

Property’s value being less than the amount of U.S. Bank’s Claim. (R. 142). Seaway

is the only unsecured creditor under the Plan. (R. 90).

      The total household income, as stated in Mr. Manzo’s Schedules I and J, is

$1,579.00, and total household expenses, are $1,549.00, leaving $30.00 available

monthly for plan payments. (R. 30-33).

      The Plan proposed the Debtor would pay $469.09 per month directly to U.S.

Bank, $30 per month for 36 months to the trustee for a total of $1,080 (less trustee

fees) to unsecured creditors and that unsecured creditors would be paid not less

than 7 percent of their allowed amount. (R. 145-149).

       As the only unsecured creditor, Seaway would not receive less than seven

percent of its allowed amount under the Plan. (R. 147).

      On May 25, 2016, the court held a hearing on the confirmation of the Plan.

(R. 153-157).

      The Court denied confirmation of Mr. Manzo’s plan, finding that it was filed

in bad faith because of “the combination of a lien strip of a mortgage [Seaway’s

Claim] where its full value is sitting in a checking account.” (R. 164).

      The court continued the confirmation hearing and noted for the next hearing



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as follows: “If the modified plan commits half of . . . funds in the account, confirm

over objection.” (R. 163).

      Mr. Manzo did not file an amended plan.

      On June 29, 2016, the Court denied confirmation of the Plan. (R. 151).




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                          SUMMARY OF THE ARGUMENT


         The courts that have ruled on the intersection of good faith and exempt social

security funds have not even engaged in a good faith analysis because the

prevailing opinion is that these funds need not be considered when determining

good faith. See reasoning in Anderson v. Cranmer (In re Cranmer), 697 F.3d 1314,

1318-19 (10th Cir. 2012); Beaulieu v. Ragos (In re Ragos), 700 F.3d 220, 226-27 (5th

Cir. 2012); Drummond v. Welsh (In re Welsh), 711 F.3d 1120, 1131-33 (9th Cir.

2013).




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                                      ARGUMENT
I.      Social Security Benefits are Exempt from Creditors and Not included
        in the Bankruptcy Estate


        Upon the filing of a petition in bankruptcy, section 522 of the Bankruptcy

Code provides that a debtor is entitled to retain certain assets as exempt from the

bankruptcy estate. 11 U.S.C. § 522. Section 522(b) allows a debtor to claim either

the federal bankruptcy exemptions listed in subsection (d) or exemptions available

under nonbankruptcy law, unless the applicable state law precludes the debtor from

claiming the federal bankruptcy exemptions. Section 522(b), in essence, authorizes

each state to “opt-out” of the scheme of exemptions provided under federal

bankruptcy law, restricting its residents to the exemptions provided under the law

of that state and under federal statutes other than section 522(d). Illinois has

exercised that opt-out option, thus mandating the use of other federal exemptions

plus the exemption statutes enacted in Illinois. One such nonbankruptcy federal

exemption is that provided for social security benefits.

        Social security benefits are exempt from creditors and the bankruptcy process

under the Social Security Act, 42 U.S.C. § 407(a). Section 407(a) of the Social

Security Act states:

                     (a) In general

                     The right of any person to any future payment
              under this subchapter shall not be transferable or
              assignable, at law or in equity, and none of the moneys
              paid or payable or rights existing under this subchapter
              shall be subject to execution, levy, attachment,

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             garnishment, or other legal process, or to the operation of
             any bankruptcy or insolvency law.

42 U.S.C. § 407(a).

      The United States Supreme Court, in Philpott v. Essex County Welfare Board,

found that social security funds on deposit in a bank account which were “readily

withdrawable” were “moneys paid” under 407(a). 409 U.S. 413, 416-17 (1973). In

Carpenter v. Ries (In re Carpenter), the Eighth Circuit held that that 42 U.S.C. §

407 “operates as a complete bar to the forced inclusion of past and future social

security proceeds in the bankruptcy estate.” 614 F. 3d 930, 936 (8th Cir. 2010).

Additionally, the Eighth Circuit concluded that social security proceeds were

automatically excluded from a bankruptcy estate and that the debtor need not even

claim an exemption in such proceeds. Id. at 936-37. See also In re Franklin, 506

B.R. 765, 769 (Bankr. C.D. Ill. 2014) (stating that Illinois has opted out of the

federal bankruptcy exemptions, therefore, Illinois residents can exempt property

under Illinois exemption statutes and federal non-bankruptcy exemption statutes,

such as 42 U.S. § 407(a) of the Social Security Act).

      Here the Bankruptcy Court held that the funds in Mr. Manzo’s bank account

were exempt assets. (R. 139)

      Section 522(c) provides that exempted property is not liable for any

prepetition debt (with certain inapplicable exceptions). The US Supreme Court

recognized several general principles emanating from section 522, including that it

“does not give courts discretion to grant or withhold exemptions based on whatever

consideration they deem appropriate,” and that the “Code's meticulous—not to say

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mind-numbingly detailed—enumeration of exemptions and exceptions to those

exemptions confirms that courts are not authorized to create additional exceptions.”

Law v. Siegel, 134 S. Ct. 1188, 1196, (2014). (There, the Court disavowed the long-

standing non-statutory basis for disallowing an exemption where a debtor

fraudulently conceals an exempt asset, determining that courts do not have a

general equitable power to deny exemptions based on a debtor's bad faith conduct.)

         Allowing the Bankruptcy Court to force Mr. Manzo to pay exempt funds into

the plan would contravene section 522(c)'s mandate that exempted property is “not

liable” for debts included in the bankruptcy case. Applying Law v. Siegel, the

Bankruptcy Court had no authority to force the Debtor to pay exempt assets to an

unsecured creditor.

II.      The Failure to Submit an Asset, Which is not Property of the
         Bankruptcy Estate, to Pay Unsecured Creditors Cannot Be Bad Faith

         Section 1325(a) provides that a court shall confirm a debtor’s bankruptcy

plan under certain conditions. 11 U.S.C. § 1325(a). Section 1325(a)(3) provides that

a plan shall be confirmed if “the plan has been proposed in good faith and not by

any means forbidden by law.” 11 U.S.C. § 1325(a)(3).

          In evaluating good faith necessary for confirmation, the bankruptcy courts

are directed to look at the totality of circumstances and, thereby, make good faith

determinations on a case-by-case basis. Matter of Love, 957 F.2d 1350, 1355 (7th

Cir. 1992). However, every court of appeals that has examined the intersection of

good faith and exempt social security benefits has categorically rejected the

Bankruptcy Court’s conclusion that a totality of the circumstances analysis allows

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consideration of exempt assets. In these cases, the courts do not even engage in a

good faith analysis, but rather conclude that the failure to pay social security funds

into a bankruptcy plan cannot show a lack of good faith.

      The Fifth, Ninth, and Tenth Circuits have all addressed the issue of good

faith regarding payment of social security benefits into a chapter 13 plan. Anderson

v. Cranmer (In re Cranmer), 697 F.3d 1314, 1318-19 (10th Cir. 2012); Beaulieu v.

Ragos (In re Ragos), 700 F.3d 220, 226-27 (5th Cir. 2012); Drummond v. Welsh (In

re Welsh), 711 F.3d 1120, 1131-33 (9th Cir. 2013). In Cranmer, Ragos, and Welsh,

the courts of appeals specifically reject that failure to pay social security proceeds

into a chapter 13 exhibits a lack of good faith. Cranmer, 697 F.3d at 1318; Ragos,

700 F.3d at 226-27; Welsh, 711 F.3d at 1131-33.

      In fact, in these cases, the courts do not even engage in a good faith analysis.

Rather, the courts conclude that because social security income is excluded from

bankruptcy under 42 U.S.C. § 407, and from the definition of current monthly

income under § 101(10A)(A), and, therefore, from the calculation of disposable

income under § 1325(b)(1)(B), the failure to pay social security income into a

bankruptcy plan cannot be bad faith. Cranmer, 697 F.3d at 1318; Ragos, 700 F.3d at

226-27; Welsh, 711 F.3d at 1131-33; see also Mort Ranta v. Gorman, 721 F.3d 241,

253, n. 15 (4th Cir. 2013) (noting that such a result is true for both an above median

and below median debtor); In re Canniff, 498 B.R. 213, 217 (Bankr. S.D. Ind. 2013)

(holding that “[b]ecause Congress unambiguously clarified the amount a debtor is




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required to pay in § 1325(b), the good faith analysis should not be considered when

determining a payment amount”).

      In Ragos, the debtors’ plan, as proposed, allowed them to retain the

overwhelming majority of their social security income. 700 F.3d at 222. The trustee

claimed that the debtors’ plan was not proposed in good faith. Id. at 226-27. The

Fifth Circuit found that because the definition of current monthly income under 11

U.S.C. 101(10A)(A) excluded social security benefits, the debtors did not need to

commit their social security income to the plan. Id. at 226. The Fifth Circuit

concluded “it is apparent that Debtors are not in bad faith merely for doing what

the Code permits them to do. We thus hold that retention of exempt social security

benefits alone is legally insufficient to support a finding of bad faith under the

Bankruptcy Code.” Id. at 227.

      Next, in Cranmer, the debtor’s plan allowed him to keep a portion of his

social security funds each month. 697 F.3d at 1316. The Tenth Circuit found that

under Hamilton v. Lanning, 560 U.S. 505, 517 (2010), the debtor’s disposable

income should be calculated only as set out in 11 U.S.C. § 1325(b)(1)(B) unless there

are known changes to the debtor’s income or expenses for the future. Id. at 1317-18.

The Tenth Circuit found that the exclusion of social security from the definition of

current monthly income was further supported by the language of 42 U.S.C. § 407.

Id. at 1318. Rejecting a good faith inquiry, the court stated “[w]hen a Chapter 13

debtor calculates his repayment plan payments exactly as the Bankruptcy Code and




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the Social Security Act allow him to, and thereby excludes SSI, that exclusion

cannot constitute a lack of good faith.” Id. at 1319.

      Finally, in Welsh, one of the debtors collected social security which was not

calculated into her plan payment. 711 F.3d at 1122. The Trustee objected that the

debtor’s failure to provide social security income to repay unsecured creditors

demonstrated a lack of good faith under § 1325(a)(3). Id. at 1131. The court

responded “[w]e cannot conclude, however, that a plan prepared completely in

accordance with the very detailed calculations that Congress set forth is not

proposed in good faith.” 711 F.3d at 1131.

      As these cases illustrate, when a debtor’s plan complies with the Bankruptcy

Code, courts do not need to engage in a good faith analysis under § 1325(a)(3)

concerning a debtor’s retention of social security funds. Here Mr. Manzo’s plan, in

all respects, complies with the Bankruptcy Code and therefore, denial of

confirmation was improper.




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                                   CONCLUSION
      The Bankruptcy Court erred in finding that Mr. Manzo’s Ch. 13 plan was not

filed in good faith. This Court should reverse the lower court’s decision.


                                        Respectfully submitted,
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                                        One of the Attorneys for Debtor-Appellant,
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